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F l L E D
UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MISSOURI ' f DEC 0 3 2009
EASTERN DIVISION

U. S. ‘DlSTRlCT COL|RT
E. D|STR|CT O`F |\/lO`n

UNITED STATES OF AMERICA,
Plaintiff,
v.

4=092R 0075905J

SCOTT R. JONES,

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Defendant.
INDICTMENT
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The Grand Jury charges that:
On or about November 16, 2009, in the Eastern District of Missouri,
SCOTT R. JONES,

the defendant herein, did willfully make a threat, through the use of a cellular telephone which is
an instrument of interstate commerce, to the Twenty-Third J udicial Circuit Court of Missouri at
Hillsboro, Jefferson County, Missouri, Division Six Court Clerk, concerning an attempt and
alleged attempt, unlawfully to damage and destroy said courthouse by means of an explosive.

In violation of, and punishable under, Title 18, United States Code, Section 844(e).

A TRUE BILL'.

 

FoREPERsoN

MICHAEL W. REAP
Acting United States Attorney

 

JENNIFER J. ROY, #68299
Assistant United States Attorney

